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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            4:13-CR-3130

vs.                                             AMENDED ORDER ON
                                               SENTENCING SCHEDULE
DANIEL ARIZA-GARCIA,

                  Defendant.

       This matter is before the Court on the government's motion to extend
(filing 264). The government requests additional time to respond to the
defendant's Motion for "Safety Valve" Non-Guideline Sentence (filing 254)
and Objection to the Presentence Report (filing 255). For good cause shown,
the government's motion is granted. Therefore,

      IT IS ORDERED that the government's motion to extend (filing 264) is
      granted.

      IT IS FURTHER ORDERED that the following amended deadlines and
      procedures are set in this case:

1.    May 19, 2014: The government's sentencing statement shall be filed on
      or before this date.

2.    May 22, 2014: Judge's notice to counsel of rulings, tentative findings,
      whether oral testimony is to be permitted, and how objections to
      tentative findings may be made; and

3.    The following procedures shall apply to objections to tentative findings:

      a.    A written objection to tentative findings is not required if no
            evidence will be offered in support of the objection to tentative
            findings and no new substantial issue of law will be raised in
            support of an objection to tentative findings. In such a case, an
            oral objection to the tentative findings may be made at the time
            of sentencing.
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      b.   A written objection to tentative findings is required if evidence
           will be offered in support of the objection to the tentative findings
           or if a new substantial issue of law is raised in support of the
           objection to the tentative findings. If evidence will be offered in
           support of the written objection to the tentative findings, the
           written objection shall include a statement describing why an
           evidentiary hearing is required, what evidence will be presented,
           and how long such a hearing would take. If a new substantial
           issue of law is raised in support of the written objection to
           tentative findings, such an objection shall be supported by a brief.
           Unless the Court orders otherwise, a written objection to the
           tentative findings will be resolved at sentencing in such manner
           as the Court deems appropriate.

      c.   Any written objection to tentative findings shall be filed no later
           than 1 business day prior to sentencing.

4.    May 30, 2014 at 11:00 a.m.: Sentencing before Judge Gerrard in
      Lincoln, Courtroom #1.

A probation officer must submit a sentencing recommendation to the
sentencing judge no later than May 28, 2014. The probation officer is
directed to provide copies of any sentencing recommendation to counsel for
the government and counsel for the defendant at the time the
recommendation is submitted to the sentencing judge.

      Dated this 15th day of May, 2014.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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